Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 1 of 28




                DOCUMENT 18
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     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 2 of 28



 1    KEKER, VAN NEST & PETERS LLP                 SKADDEN, ARPS, SLATE, MEAGHER &
      ELLIOT R. PETERS - # 158708                  FLOM LLP
 2    epeters@keker.com                            ANTHONY J. DREYER - (pro hac vice)
      DAVID SILBERT - # 173128                     anthony.dreyer@skadden.com
 3    dsilbert@keker.com                           KAREN M. LENT - (pro hac vice)
      R. ADAM LAURIDSEN - # 243780                 karen.lent@skadden.com
 4    alauridsen@keker.com                         MATTHEW M. MARTINO - (pro hac vice)
      NICHOLAS S. GOLDBERG - # 273614              matthew.martino@skadden.com
 5    ngoldberg@keker.com                          One Manhattan West
      SOPHIE HOOD - # 295881                       New York, NY 10001
 6    shood@keker.com                              Telephone:    212 735 3000
      633 Battery Street                           Facsimile:    212 735 2000
 7    San Francisco, CA 94111-1809
      Telephone:     415 391 5400                  SKADDEN, ARPS, SLATE, MEAGHER &
 8    Facsimile:     415 397 7188                  FLOM LLP
                                                   PATRICK FITZGERALD - (pro hac vice)
 9                                                 patrick.fitzgerald@skadden.com
                                                   155 North Wacker Drive
10                                                 Chicago, Il 60606
                                                   Telephone:      312 407 0700
11                                                 Facsimile:      312 407 0411

12
     Attorneys for Defendant PGA TOUR, INC.
13

14                                 UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16   MATT JONES; BRYSON DECHAMBEAU;                Case No. 5:22-cv-04486-BLF
     PETER UIHLEIN; and LIV GOLF, INC.,
17                                                 PGA TOUR, INC.’S REPLY IN SUPPORT
                    Plaintiffs,                    OF MOTION TO COMPEL PUBLIC
18
                                                   INVESTMENT FUND OF THE
               v.
19                                                 KINGDOM OF SAUDI ARABIA AND
     PGA TOUR, INC.,                               YASIR OTHMAN AL-RUMAYYAN’S
20                                                 COMPLIANCE WITH DOCUMENT AND
                    Defendant.                     DEPOSITION SUBPOENAS AND
21                                                 OPPOSITION TO MOTION TO QUASH
22                                                 Date:
                                                   Time:
23                                                 Courtroom: 5, 5th Floor
24                                                 Judge:      Hon. Beth Labson Freeman
25                                                 Date Filed: August 3, 2022
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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 3 of 28



 1                                               Trial Date: January 8, 2024
     PGA TOUR, INC.,
 2
                    Counterclaimant,
 3
               v.
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     LIV GOLF, INC.,
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                    Counterdefendant.
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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 4 of 28



 1                                                       TABLE OF CONTENTS

 2                                                                                                                                              Page

 3   I.        INTRODUCTION ...............................................................................................................1

 4   II.       FACTS .................................................................................................................................3

 5             A.         PIF and Al-Rumayyan manage LIV’s day-to-day business operations. ..................3

 6             B.         PIF and Al-Rumayyan negotiated business transactions in the U.S. .......................4

 7             C.         PIF and Al-Rumayyan have extensive contacts with the U.S. ................................5

 8   III.      PERSONAL JURISDICTION .............................................................................................7

 9             A.         The Court has jurisdiction over PIF under FSIA. ....................................................7

10                        1.         The commercial activity exception applies to PIF. ......................................7
11                        2.         The waiver exception applies to PIF. .........................................................10
12             B.         PIF and Al-Rumayyan have minimum contacts with the U.S. ..............................11
13                        1.         PIF and Al-Rumayyan’s U.S. contacts “relate to” this litigation. .............11
14                        2.         PIF and Al-Rumayyan are agents of LIV. .................................................13
15                        3.         The exercise of personal jurisdiction is reasonable. ..................................14
16             C.         PIF and Al-Rumayyan are subject to tag jurisdiction. ...........................................15
17             D.         Al-Rumayyan is not protected by common law immunity. ...................................15
18   IV.       SERVICE WAS PROPER .................................................................................................17
19             A.         The TOUR has tendered witness fees. ...................................................................17
20             B.         PIF and Al-Rumayyan regularly transact business in New York City. .................17

21   V.        THE TOUR’S SUBPOENAS SEEK RELEVANT DISCOVERY ...................................17

22             A.         The subpoenas seek relevant discovery in PIF and Al-Rumayyan’s
                          exclusive control. ...................................................................................................17
23
               B.         PIF and Al-Rumayyan would not be burdened by the discovery sought. .............19
24
               C.         PIF and Al-Rumayyan never offered to produce documents voluntarily. .............20
25
     VI.       CONCLUSION ..................................................................................................................20
26

27

28

                                                  i
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 5 of 28



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                   Page(s)
 3   Federal Cases
 4
     Alfred Dunhill of London, Inc. v. Republic of Cuba,
 5       425 U.S. 682 (1976) ...........................................................................................................15, 16

 6   Andros Compania Maritima, S.A. v. Intertanker Ltd.,
        718 F. Supp. 1215 (S.D.N.Y. 1989).........................................................................................10
 7
     Broidy Cap. Mgmt., LLC v. State of Qatar,
 8      982 F.3d 582 (9th Cir. 2020) .....................................................................................................8
 9   Burnham v. Sup. Ct. of Cal., Cnty. of Marin,
10      495 U.S. 604 (1990) .................................................................................................................15

11   Cancino v. McAleehan,
        2020 WL 1332485 (S.D. Cal. March 20, 2020).......................................................................19
12
     In re Cathode Ray Tube (CRT) Antitrust Litig.,
13       2018 WL 659084 (N.D. Cal. Feb. 1, 2018) ...............................................................................9
14   Doe v. Unocal Corp.,
15      248 F.3d 915 (9th Cir. 2001) ...................................................................................................13

16   Dogan v. Barak,
        932 F.3d 888 (9th Cir. 2019) ...................................................................................................16
17
     Embassy of the Arab Republic of Egypt v. Lasheen,
18     603 F.3d 1166 (9th Cir. 2010) ...............................................................................................7, 8
19   Everard Findlay Consulting, LLC v. Republic of Surin.,
        831 F. App’x 599 (2d Cir. 2020) ...............................................................................................7
20

21   First Am. Corp. v. Price Waterhouse LLP,
         154 F.3d 16 (2d Cir. 1998).......................................................................................................15
22
     Flatlow v. Islamic Rep. of Iran,
23      308 F.3d 1065 (9th Cir. 2002) ...................................................................................................8
24   Funk v. Belneftekhim,
        861 F.3d 354 (2d Cir. 2017).....................................................................................................11
25
     Giraldo v. Drummond Co., Inc.,
26
        808 F. Supp. 2d 247 (D.D.C. 2011) .........................................................................................16
27
     Halliburton Energy Servs., Inc. v. M-I, LLC,
28      2006 WL 2663948 (S.D. Tex. Sept. 15, 2006) ........................................................................17

                                                  ii
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 6 of 28



 1   In re Hydroxycut Mktg. & Sales Pract. Litig.,
         810 F.Supp.2d 1100 (S.D. Cal. 2011) ......................................................................................13
 2
     LNS Enter. LLC v. Cont’l Motors, Inc.,
 3
        22 F.4th 852 (9th Cir. 2022) ....................................................................................................11
 4
     OBB Personenverkehr AG v. Sachs,
 5     577 U.S. 27 (2015) .....................................................................................................................8

 6   Pablo Star Ltd. v. Welsh Gov’t,
        961 F.3d 555 (2d Cir. 2020)...................................................................................................7, 9
 7
     In re Packaged Seafood Prod. Antitrust Litig.,
 8       277 F. Supp. 3d 1167 (S.D. Cal. 2017) ....................................................................................13
 9
     Republic of Phil. v. Marcos,
10      806 F.2d 344 (2d Cir. 1986).....................................................................................................15

11   Richmark Corp. v. Timber Falling Consultants,
        959 F.2d 1468 ....................................................................................................................14, 15
12
     Rosasen v. Kingdom of Nor.,
13      2022 WL 409679 (C.D. Cal. Feb. 10, 2022)............................................................................16
14
     Samantar v. Yousuf,
15      560 U.S. 305 (2010) ...................................................................................................................7

16   Smith v. Soc. People's Libyan Arab Jamahiriya,
        101 F.3d 239 (2d Cir. 1996).....................................................................................................10
17
     Sullivan v. PJ United, Inc.,
18       2017 WL 11675693 (N.D. Ala. Dec. 15, 2017) .......................................................................17
19   In re Terrorist Attacks on Sept. 11, 2001,
20       122 F. Supp. 3d 181 (S.D.N.Y. 2015)......................................................................................16

21   Verlinden B.V. v. Cent. Bank of Nigeria,
        461 U.S. 480 (1983) .................................................................................................................16
22
     Walden v. Fiore,
23      571 U.S. 277 (2014) .................................................................................................................12
24   Wultz v. Bank of China Ltd.,
        298 F.R.D. 91 (S.D.N.Y. 2014) ...............................................................................................17
25

26   Wultz v. Bank of China Ltd.,
        32 F. Supp. 3d 486 (S.D.N.Y. 2014)........................................................................................16
27
     Wye Oak Tech., Inc. v. Republic of Iraq,
28      24 F.4th 686 (D.C. Cir. 2022) ..................................................................................................16
                                                  iii
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 7 of 28



 1   Federal Statutes
 2   Foreign Sovereign Immunities Act, 28 U.S.C. § 1602 et. seq ............................................... passim
 3   Rules
 4
     Fed. R. Civ. P. 45 .......................................................................................................................2, 17
 5

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 8 of 28



 1   I.        INTRODUCTION

 2             The Public Investment Fund and Mr. Al Rumayyan’s Opposition and Motion to Quash is

 3   filled with misdirection, mischaracterization of controlling law, and misrepresentations.

 4             PIF and Mr. Al-Rumayyan begin by arguing that since they purportedly offered to

 5   voluntarily produce unidentified documents of their own choosing, the TOUR’s subpoenas and its

 6   Motion are unnecessary. First, PIF’s suggestion is false. If PIF wanted to cooperate with

 7   discovery by producing documents voluntarily, as its counsel told Judge Freeman it would, it

 8   would have done so. But it has not produced—or offered to produce—a single page of discovery,

 9   much less offered to testify. Instead, PIF made false representations to this Court about

10   cooperating with discovery, agreed to accept service of subpoenas it knew it would argue were

11   unenforceable, and then made every argument it could conjure—regardless of how frivolous--to

12   avoid compliance. Second, even if true, the argument that PIF offered to voluntarily produce

13   some self-identified set of documents is beside the point. No litigant is required to accept its

14   adversary’s offer to “voluntarily” produce cherry-picked documents (and hide other documents

15   that support the litigant’s position) in lieu of being compelled by law to do so.

16             PIF and Mr. Al-Rumayyan’s jurisdictional and comity arguments also fail. Their extensive

17   commercial activity in, and contacts with, the United States give rise to jurisdiction under the

18   Foreign Sovereign Immunities Act (FSIA) and provide more than sufficient contacts to satisfy

19   any due process concerns. The voluminous evidence submitted in support of the TOUR’s Motion

20   and this Opposition and Reply establishes that PIF is no mere passive investor in LIV. PIF owns

21   nearly 95% of LIV and has invested $2 billion thus far to establish and fund LIV’s operations.

22   Mr. Al-Rumayyan functions as LIV’s chief executive, meeting regularly with LIV’s nominal

23   CEO Greg Norman, approving LIV’s budget, making key strategic decisions, participating in

24   player recruitment in the United States, and micro-managing LIV’s day-to-day operations. PIF

25   and Mr. Al-Rumayyan are central figures. They are the wizards behind the curtain: they call the

26   shots, they approve the expenditures, and they supply the money.

27             PIF and Mr. Al-Rumayyan’s conduct is also inextricably intertwined with LIV’s and the

28   Player Plaintiffs’ claims and the TOUR’s counterclaims and defenses. This case is about LIV’s

                                                  1
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 9 of 28



 1   use of billions of dollars—bankrolled by PIF—to establish a new golf league, pay players

 2   staggering sums to breach their TOUR contracts, indemnify them for the damages caused by their

 3   breaches, and fund this litigation using PIF’s lawyers. PIF’s gambit to mastermind this lawsuit

 4   but then stonewall discovery should be rejected.

 5             PIF and Mr. Al-Rumayyan’s remaining arguments fare no better. Their claim that tag

 6   jurisdiction does not apply because they were not “served while physically present” in the United

 7   States, is the high-water mark of dishonesty. In accepting service, PIF and Mr. Al-Rumayyan

 8   agreed to treat the subpoenas as “personally delivered” to them “in the United States.” They

 9   cannot avoid tag jurisdiction by ignoring the plain terms of this agreement. The TOUR complied

10   with Rule 45 by setting compliance in New York City, where PIF admits that it has an office,

11   where Mr. Al-Rumayyan admits that he travels regularly, and where PIF regularly transacts

12   business, including investing in more than 50 publicly traded companies. And the quibble about

13   witness fees—an odd objection for a sovereign wealth fund with nearly $650 billion in assets that

14   agreed to accept service of the subpoenas—is moot because the TOUR has tendered fees.

15             Finally, PIF and Mr. Al-Rumayyan all but concede the relevance of the TOUR’s requests,

16   as they must. At its core, LIV’s claim is that its effort to develop a competing golf tour and break

17   into the market has been blocked by the TOUR. PIF and Mr. Al-Rumayyan created, funded, and

18   own LIV, and they manage LIV at a strategic and day-to-day operational level. Moreover, PIF

19   and Mr. Al-Rumayyan have funded, approved and actively assisted LIV in inducing TOUR

20   members to breach their contracts. And, having availed themselves of the U.S. market and funded

21   this litigation, PIF and Mr. Al-Rumayyan should not be heard to complain about the relatively

22   slight cost or burden of complying with the TOUR’s subpoenas.

23             Stripped of its distractions and half-truths, the Opposition and Motion to Quash are a

24   transparent effort to prevent the TOUR from obtaining relevant discovery. After promising the

25   Court that PIF would cooperate by providing this discovery, it has now backtracked and engaged

26   in every form of foot-dragging and straw-grasping imaginable to delay the process. It is long past

27   time for PIF and Mr. Al-Rumayyan to comply with their discovery obligations. The TOUR

28   respectfully requests that its Motion to Compel be granted and PIF’s Motion to Quash be denied.

                                                  2
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
     1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 10 of 28



 1    II.       FACTS

 2              A.     PIF and Al-Rumayyan manage LIV’s day-to-day business operations.

 3              LIV was created and launched “[u]nder the instruction of H.E. The Governor of PIF.”

 4    Declaration of Sophie Hood (“Hood Decl.”), Ex. 1 at 3.1 PIF owns 93% of LIV, and it is

 5    “assuming all financial risks [of launching LIV] (due to its 100% funding of the project).” Id.,

 6    Exs. 2; 1 at 24. Nonetheless, PIF and Mr. Al-Rumayyan attempt to portray themselves as garden-

 7    variety passive investors. The record shows otherwise. In fact, documents produced since the

 8    TOUR filed its Motion confirm that they serve as ultimate decisionmakers directing LIV’s high-

 9    level business strategy and hands-on supervisors running its daily business operations.

10              Mr. Al-Rumayyan has final authority over major decisions, such as “

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12

13                                            in breach of their agreements with the TOUR. See id., Exs. 3–

14    4; see also id., Ex. 5 (                                                                  Mr. Al-

15    Rumayyan also requires meetings                           with LIV and PIF leadership to discuss

16    LIV’s

17                               . Id., Ex. 6. Mr. Al-Rumayyan’s close supervision of LIV is consistent

18    with PIF’s internal description of Mr. Norman as a                     for LIV, id., Ex. 1 at 12, and it

19    is no surprise that LIV’s regulations identify Mr. Al-Rumayyan as “Chairman of the Board and

20    the CEO & Commissioner,” see Dkt. 89-2 at 11

21              PIF and Mr. Al-Rumayyan also supervise LIV’s day-to-day operations and manage its

22    executives. Mr. Al-Rumayyan participates in a

23

24                                                   Id. Ex. 7. This is in addition to the

25                                                                                                 Id. Mr.

26    Al-Rumayyan and PIF thus run LIV through their direct supervision of its executives.

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      1
          Page citations to Hood Declaration exhibits reference the exhibit’s internal pagination.
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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 11 of 28



 1              PIF and Mr. Al-Rumayyan have micro-managed the minutiae of LIV’s operations from

 2    the very beginning. Mr. Al-Rumayyan provided input into LIV’s

 3                                                                                       , and L

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 5

 6                         Id., Exs. 8–11. Indeed,

 7

 8                                                 . Id. Ex. 44 at 9-12.

 9                                                                              Id., Ex. 12. In short, PIF’s

10    and Mr. Al-Rumayyan’s daily involvement and influence bears on everything from LIV’s global

11    strategy to the tiniest detail—such as the way it
12              B.     PIF and Al-Rumayyan negotiated business transactions in the U.S.
13              PIF and Mr. Al-Rumayyan brokered business deals for LIV with players and their agents
14    and                                                                                     ” See, e.g.,
15    Hood Decl., Ex. 1 at 3. Mr. Al-Rumayyan met personally with                   representatives from as
16    early as                   . Id., Ex. 14. For example, Mr. Al-Rumayyan coordinated with LIV
17    leadership to recruit                                        and the golfers              represents.
18    See id., Exs. 13 (
19                                                ; 15 (                     ; 16
20                                                         Mr. Al-Rumayyan specifically used “

21

22                                       Id., Ex. 17. Wasserman’s agency has since become one of “the
23    biggest influence[s] on players who joined LIV,” representing seven of the forty-eight players in
24    LIV’s September event, most of whom were TOUR members at the time
25                            , including former Player Plaintiff Hudson Swafford. See id., Ex. 38.
26              PIF and Mr. Al-Rumayyan have also directly recruited players in the United States and
27    decided on the terms of their contracts with LIV. For example, on                            , Mr. Al-
28    Rumayyan                    Mr. Al-Sorour to

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 12 of 28



 1                                                               . Id., Ex. 18 (emphasis added). These

 2    negotiations and signings induced TOUR members to breach their contracts with the TOUR.

 3    Following this episode, Plaintiffs allege that TOUR Commissioner Jay Monahan addressed a

 4    meeting of TOUR players at the Honda Classic in Florida on February 22, 2022. Dkt. 83 ¶ 166. In

 5    response, Mr. Al-Rumayyan “green li[t]” an open letter by LIV designed to induce additional

 6    TOUR members to breach their contracts. See Hood Decl., Exs. 4; 39. In following months, Mr.

 7    Al-Rumayyan continued recruiting and negotiating with players on LIV’s behalf. He instructed

 8    Mr. Norman

 9                   . Id., Ex. 19 And in June 2022, Mr. Al-Rumayyan

10

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12

13                                         d., Ex. 20 (emphasis added).
14              Mr. Al-Rumayyan is also intimately involved in negotiating business agreements on
15    LIV’s behalf with sponsors, advertisers, and broadcasters. This has included meeting with
16                                                                                                . Id.,
17    Exs. 21, 22. Just five weeks ago, more than a month after the subpoenas were served on PIF and
18    Mr. Al-Rumayyan,
19

20

21                                                   ” Id., Ex. 23.
22              C.       PIF and Al-Rumayyan have extensive contacts with the U.S.
23              PIF executives such as Mr. Al-Rumayyan have also regularly visited the United States
24    where they have conducted PIF business. Mr. Al-Rumayyan alone has traveled to the United
25    States “a number of times”—including nine times to New York and once to California—over the
26    last 2 years, and he admits that he has promoted LIV during his visits. Dkt. 166-5, ¶ 4-5. Also
27    regularly directs electronic communications to the United States. LIV has produced more than
28    400 emails sent directly between executives at PIF and LIV employees in the United States. Hood

                                                  5
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 13 of 28



 1    Decl. ¶ 42. LIV has likewise produced more than 250 direct email communications between PIF

 2    and its U.S. consultants. Id.

 3              PIF has engaged at least three such U.S. consultants to perform work relating to LIV and

 4    the issues in this litigation. PIF hired

 5                                                                  See Hood Decl., Exs. 24-25. PIF hired

 6    Teneo Strategy, LLC (“Teneo”)—headquartered in New York City and registered under the

 7    Foreign Agency Registration Act—to “demonstrat[e] how PIF is enabling the creation of new

 8    sectors and opportunities and driving transformation” as a part of “Project Wedge.” Id., Ex. 40 at

 9    8. While Teneo’s contract makes no mention of LIV, “Project Wedge” is PIF’s internal

10    designation for its plan to disrupt professional golf and compete with the TOUR via LIV.
11                                                                 See id., Ex. 26 at
12

13                                                For example, Teneo works with PIF and LIV leadership
14    to
15                                                                                      Id., Exs. 5; 27–29.
16    PIF and Mr. Al-Rumayyan also retained
17                     including producing
18                                               See id., Exs. 30–32 (emphasis added).
19              Finally, contrary to his self-serving declarations, Mr. Al-Rumayyan previously admitted
20    that PIF’s New York office is used to source deals, manage ongoing relationships with U.S.

21    portfolio companies, and monitor new deals in the United States. See Hood Decl., Ex. 41.

22    Unsurprisingly, PIF and Mr. Al-Rumayyan have
23                                                               . For example, PIF and Mr. Al-
24    Rumayyan are making efforts to
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26                                                                                . Id., Exs. 33–35.
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                                                  6
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 14 of 28



 1    III.      PERSONAL JURISDICTION

 2              A.     The Court has jurisdiction over PIF under FSIA.

 3              Once jurisdiction is established under a FSIA exception, personal jurisdiction is

 4    “automatic,” and no further due process or minimum contacts analysis is required, Samantar v.

 5    Yousuf, 560 U.S. 305, 325 n.20 (2010) (citing 28 U.S.C. § 1330), which PIF does not

 6    meaningfully contest. Nor does PIF contest its burden of proving that FSIA exceptions do not

 7    apply, in light of the TOUR’s evidence that they do. See Dkt. 147-3 (“Mot.”) at 14. Accordingly,

 8    because PIF has failed to carry its burden of rebutting the TOUR’s abundant evidence

 9    establishing that both the commercial activity and waiver exceptions apply—indeed, it has

10    presented virtually no evidence at all—the Court’s jurisdiction is automatic under FSIA.

11                     1.      The commercial activity exception applies to PIF.

12              PIF likewise does not dispute that its creation and control of LIV are quintessential

13    “commercial activities” under § 1605(a)(2). PIF does not contest that these commercial activities

14    had “substantial contact with the United States.” 28 U.S.C. § 1603(e). And PIF does not address

15    the cases the TOUR cited in its motion, including Pablo Star Ltd. v. Welsh Gov’t, 961 F.3d 555,

16    565 (2d Cir. 2020), where a foreign state’s distribution of promotional materials in the United

17    States subjected it to jurisdiction under the commercial activities exception, Everard Findlay

18    Consulting, LLC v. Republic of Surin., 831 F. App’x 599, 601 (2d Cir. 2020), where a foreign

19    state’s “negotiating, entering, and allegedly breaching” an agreement with a firm in the United

20    States fell under the commercial activities exception, and Embassy of the Arab Republic of Egypt

21    v. Lasheen, 603 F.3d 1166, 1171 (9th Cir. 2010), where a foreign state’s funding of an insurance

22    plan in the United States fell under the exception.

23              Instead, PIF argues that this lawsuit is not “based upon” its commercial activity. Dkt. 165-

24    3 (“Opp.”) at 9-10. Specifically, PIF argues that the commercial activity exception does not apply

25    because its “conduct is not the basis of the lawsuit or counterclaim.” Id. This argument fails as a

26    matter of law and fact. Indeed, PIF mischaracterizes the scope of the commercial activity

27    exception and ignores the mountain of evidence tying its conduct—both in and affecting the

28    United States—to the claims, defenses and counterclaims in this case.

                                                  7
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 15 of 28



 1              First, to the extent that PIF is suggesting that a foreign sovereign can only be subject to

 2    jurisdiction under the commercial activity exception when the sovereign is the named defendant,

 3    that is not the law. Section 1605(a)(2) requires that the relevant action—here, LIV’s lawsuit and

 4    the TOUR’s defenses and counterclaims thereto—be “based upon” one of the three enumerated

 5    categories of foreign conduct, and the case law requires “a nexus between the plaintiff’s asserted

 6    cause of action and the foreign state’s commercial activity,” Lasheen, 603 F.3d at 1170. But no

 7    case holds that, because PIF is not the named the defendant, it can sidestep the exception to

 8    sovereign immunity for commercial activity. And such a rule would make no sense: it would

 9    permit a foreign agency to be sued based on its domestic commercial activity, but not compelled

10    to produce evidence when that same activity gives rise to a lawsuit between other parties.

11              None of the cases cited by PIF supports its cramped view of § 1605(a)(2), and none

12    involves the domestic commercial activity present here. OBB Personenverkehr AG v. Sachs, 577

13    U.S. 27, 31 (2015), involved a tort claim arising from a railway accident in Austria, where the

14    sole U.S.-based activity was the purchase of a Eurail pass. Broidy Cap. Mgmt., LLC v. State of

15    Qatar, 982 F.3d 582, 594 (9th Cir. 2020), did not involve any commercial activity; the court ruled

16    that Qatar was immune from suit because its alleged “clandestine surveillance and espionage”

17    was an exercise of sovereign power and not a commercial activity. And Flatlow v. Islamic Rep. of

18    Iran, 308 F.3d 1065 (9th Cir. 2002) did not even apply or interpret FSIA.

19              Second, as a matter of fact, PIF is simply wrong that its conduct “is not the basis of the

20    lawsuit or counterclaims.” Opp. at 9. To start with the TOUR’s counterclaims, the “core of [its]

21    suit” is that TOUR members were illegally induced to breach their contracts to play for LIV, OBB

22    Personenverkehr, 577 U.S. at 35, and it is now abundantly clear that
23                                                                                                    . See
24    supra at Section II.B. PIF
25               Hood Decl., Ex. 1 at 3.
26                                                                       Id. Exs. 19, 36.
27

28                                      Id. Ex. 18. Mr. Al-Rumayyan personally

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 16 of 28



 1                                                         . Id. Exs. 20, 38. And PIF has supplied LIV with

 2    essentially its entire capital, so of course its “funding … caused LIV to … induce golfers to

 3    breach [their] contracts.” Opp. at 10. Most of this conduct inducing TOUR golfers to breach their

 4    contracts occurred in or was directed to the United States. Thus, just as the Welsh government

 5    was not immune from a copyright suit where it “played an active role in the United States in the

 6    development and distribution” of “materials that included plaintiffs’ photographs,” Pablo Star,

 7    961 F.3d at 565, so too has PIF played an active role in the United States in the tortious

 8    interference with the TOUR’s contracts and thus cannot avoid this Court’s jurisdiction.

 9              Similarly, PIF’s conduct is at the heart of LIV’s claim that the TOUR has illegally

10    prevented it from entering the relevant markets. As shown above, every element of LIV’s attempt

11    to enter the market is managed by PIF, and PIF’s active role in the “funding and oversight” of

12    LIV, Opp. at 10, is directly related to the TOUR’s antitrust defenses. For example, as explained in

13    the TOUR’s Motion, PIF’s conduct is relevant to show that LIV and its backers lack a real profit

14    motive and that PIF’s abundant funding serves as a market-distorting force, not a pro-competitive

15    one. See Mot. at 11-13. Thus, PIF’s glib assertion that the claims brought by its subsidiary LIV

16    “[have] nothing to do with PIF,” Opp. at 9, could not be further from the truth, and PIF cannot

17    carry its burden to show that its commercial activities “carried on in the United States” are

18    shielded by FSIA. 28 U.S.C. § 1605(a)(2) (first clause).

19              Finally, PIF’s commercial activities “outside the territory of the United States” also

20    subject it to this Court’s jurisdiction because they were “in connection with a commercial activity

21    of [LIV] elsewhere” and they caused “a direct effect in the United States.” 28 U.S.C. § 1605(a)(2)

22    (third clause). As the TOUR has explained, the claims, defenses and counterclaims are all tied to

23    PIF’s actions, whether undertaken in New York, Riyadh, or the Bailiwick of Jersey, and those

24    actions have had a direct effect in the United States. Mot. at 15-16. For example, it was an

25    “immediate consequence of” PIF’s authorization and funding of LIV player contracts, In re

26    Cathode Ray Tube (CRT) Antitrust Litig., 2018 WL 659084, at *5 (N.D. Cal. Feb. 1, 2018), that

27    numerous TOUR players were induced to breach their TOUR contracts and were consequently

28    suspended from the TOUR—actions at the heart of this case.

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 17 of 28



 1              In short, the record is so replete with evidence of PIF’s involvement in the actions

 2    underlying this lawsuit—whether carried out in the United States or directly affecting the United

 3    States—that PIF is not entitled to immunity under the first or third clause of § 1065(a)(2).

 4                     2.      The waiver exception applies to PIF.
 5              The waiver exception applies wherever a foreign instrumentality “has waived its

 6    immunity either explicitly or by implication.” 28 U.S.C. § 1605(a)(1) (emphasis added).

 7    Canonical examples of implied waiver include “cases where a foreign state has agreed to

 8    arbitration in another country” and “where a foreign state has agreed that the law of a particular

 9    country should govern a contract.” Smith v. Soc. People's Libyan Arab Jamahiriya, 101 F.3d 239,

10    243 (2d Cir. 1996) (quoting H.R. Rep. No. 94–1487, at 18 (1976)). In fact, “seeking affirmative

11    relief from the Court is the paradigm of” a waiver of a personal jurisdiction defense. Andros

12    Compania Maritima, S.A. v. Intertanker Ltd., 718 F. Supp. 1215, 1217 (S.D.N.Y. 1989). These

13    examples demonstrate that a “subjective or objectively reasonable intent” to waive is not required

14    to find waiver. Id. Rather, courts must “hold a foreign state to an implied waiver of sovereign

15    immunity by the state’s actions in relation to the conduct of litigation.” Id. (emphasis added).

16              The TOUR has presented abundant evidence that PIF and Mr. Al-Rumayyan “agreed to”

17    litigate in the United States. Smith, 101 F.3d at 243.
18                                       which is affected by this lawsuit, are documented at great length.
19    See supra, Section II.A, B; see also Dkt. 147-9. To rebut this evidence, PIF has offered nothing
20    more than artfully worded and self-serving statements contradicted by the evidence. For example,

21    LIV’s CFO Tim Taylor writes that “PIF’s Board does not approve LIV’s budget or budget
22    changes,” Taylor Decl. at ¶ 2, Dkt. 166-6 (emphasis added), but the TOUR’s assertions that PIF
23    controls LIV are not limited to PIF’s “board.” In fact, LIV’s documents show unambiguously that
24                                  Hood Decl. Ex. 18 (
25                                                         ). Moreover, Mr. Taylor’s assertion that “LIV
26    decided to enter this lawsuit. PIF did not direct the decision,” Taylor Decl. at ¶ 2, is beside the
27    point. PIF could well have “agreed to” the filing of this lawsuit without “direct[ing]” it.
28

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 18 of 28



 1              At minimum, the TOUR has presented “a colorable factual dispute” under FSIA’s waiver

 2    exception, which is sufficient to order jurisdictional discovery into whether PIF agreed to U.S.

 3    litigation. Funk v. Belneftekhim, 861 F.3d 354, 367 (2d Cir. 2017). This is particularly true where

 4    PIF has put its own decision making about this lawsuit in contention. See Taylor Decl. ¶ 2.

 5              B.     PIF and Al-Rumayyan have minimum contacts with the U.S.
 6              PIF and Mr. Al-Rumayyan concede that the “minimum contacts” test for specific personal

 7    jurisdiction is satisfied when an individual or entity (1) “purposefully direct[s] his activities or

 8    consummate[s] some transaction with the forum or resident thereof; or perform[s] some act by

 9    which he purposefully avails himself of the privilege of conducting activities in the forum,” (2)

10    the claim “arises out of or relates to [the] forum-related activities,” and (3) the exercise of

11    jurisdiction is reasonable. LNS Enter. LLC v. Cont’l Motors, Inc., 22 F.4th 852, 858 (9th Cir.

12    2022) (emphasis added). PIF and Mr. Al-Rumayyan also concede that the entire United States is

13    the relevant forum for assessing minimum contacts in this antitrust case. Opp. at 13.

14              As explained above, jurisdiction over PIF is “automatic” under FSIA, but as set out here,

15    such jurisdiction also comports with the due process and minimum contacts analysis. Both PIF

16    and Mr. Al-Rumayyan have purposefully directed activities—through their direct contacts and

17    under an agency theory—and engaged in transactions with “resident[s]” of the United States that

18    “relate[]” to the litigation. And the exercise of jurisdiction here is reasonable because the need for

19    discovery outweighs PIF and Mr. Al-Rumayyan’s overstated concerns about comity.

20                     1.      PIF and Al-Rumayyan’s U.S. contacts “relate to” this litigation.
21              PIF’s and Mr. Al-Rumayyan’s abundant contacts with the United States relate directly to

22    the claims in this case. First, their purposeful contacts and transactions relate to the TOUR’s

23    counterclaims that LIV induced TOUR members to breach their contracts with the TOUR and to

24    LIV’s claim that the TOUR’s alleged monopsony “has depressed professional golfer wages.” See

25    Dkt. 83 ¶ 293; Dkt. 108. PIF and Mr. Al-Rumayyan have repeatedly and personally negotiated

26    with                           in the United States. See, e.g., Hood Decl., Exs. 1 at 3 (explaining
27    that PIF
28           ; 20 (message from Mr. Al-Rumayyan to

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 19 of 28



 1

 2                                                                                         ; 14 (Mr. Al-

 3    Rumayyan meeting personally with players’ lawyers). Mr. Al-Rumayyan’s ”

 4                                                                 sparked LIV’s (false) allegations in this

 5    litigation that Commissioner Monahan threatened TOUR members in the United States who

 6    signed with LIV. See Hood Decl., Exs. 18; 39; 4; Dkt. 83 ¶ 166. And Mr. Al-Rumayyan

 7    specifically used

 8                                                                 to recruit

 9                                           to contract with LIV. See id., Exs. 17; 38.

10              Second, PIF purposefully engaged U.S. entities to perform business-modeling, public-

11    relations and lobbying work directly related to the issues in this case.             helped develop
12    LIV’s strategy for breaking into the market for elite professional golf events. See Hood Decl.,
13    Exs. 25 & 24. PIF contracted with the New York firm Teneo to influence the American public to
14    “fully appreciate PIF’s current and future contributions to society” and to “
15                                  including by
16                    in the United States. See Hood Decl., Exs. 40 at 8; 5; 26 at 4; 27–30. PIF’s Teneo
17    contacts are particularly relevant to PIF’s attempt at “sportswashing,” which is central to the
18    TOUR’s defenses that the prices paid to LIV players are untethered to competitive pricing and
19    that Saudi Arabia’s reputation—not anticompetitive conduct—is the reason why sponsors,
20    broadcasters and others have distanced themselves from LIV. See Hood Decl., Ex. 1 at 4 (internal

21    PIF document explaining that the “investment [in LIV] fits with PIF’s strategic goal of being . . .
22    a leader in creating positive and innovative change within the sports industry, a point of focus for
23    the Kingdom’s Vision 2030”); Dkt. 108 at 54; Dkt. 50 at 5–7, 16.
24              These facts distinguish this case from Walden v. Fiore, cited by PIF and Mr. Al-
25    Rumayyan. 571 U.S. 277 (2014). They do not just have “random, fortuitous, or attenuated
26    contacts” with residents of the United States. Id. at 286 (cleaned up). Instead, they “purposefully
27    reached out” by “entering … contractual relationship[s]” with numerous U.S. parties “that
28    envisioned continuing and wide-reaching contacts” in the United States. Id. at 285 (cleaned up).

                                                  12
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 20 of 28



 1              Third, PIF and Mr. Al-Rumayyan have negotiated on behalf of LIV with U.S. sponsors,

 2    broadcasters, and advertisers, which is relevant to LIV’s claim that the TOUR prevented LIV

 3    “from contracting with agencies, vendors, sponsors, advertisers and players needed to offer an

 4    elite professional golf entertainment product.” See Dkt. 83 ¶¶ 314, 322, 333. Mr. Al-Rumayyan

 5    has been personally involved in these negotiations. See, e.g., Hood Decl., Exs. 21–23. And PIF

 6    has leveraged its tens of billions of dollars of investments in U.S. companies—managed through

 7    its New York office—                                 . See id., Exs. 33–35. Because Mr. Al-

 8    Rumayyan and PIF have communicated directly with these U.S. parties—without LIV—their

 9    contacts have created unique evidence relevant to LIV’s allegations.

10              Finally, PIF and Mr. Al-Rumayyan have sent hundreds of emails into the United States,

11    Id.. ¶ 42, and, according to LIV, “[i]t is well-established that communications with a forum state

12    are sufficient to establish personal jurisdiction,” Id. Ex. 43 at 17 n.6.

13                     2.     PIF and Al-Rumayyan are agents of LIV.
14              The Court also has personal jurisdiction over PIF and Mr. Al-Rumayyan through their

15    relationship with LIV—a Delaware corporation based in New York City—under an agency

16    theory because PIF has exerted “parental control of [LIV’s] internal affairs or daily operations.”

17    Doe v. Unocal Corp., 248 F.3d 915, 926 (9th Cir. 2001). To determine whether an agency

18    relationship exists, courts consider whether a parent negotiated on the subsidiary’s behalf with

19    businesses and was “involved in advertising-, marketing-, and business-based decisions.” See In

20    re Hydroxycut Mktg. & Sales Pract. Litig., 810 F.Supp.2d 1100, 1119–21 (S.D. Cal. 2011).

21              The agency test is easily satisfied here for PIF and Mr. Al-Rumayyan. Mr. Al-Rumayyan

22    has acted as the “supervisor of [LIV’s] CEO and approved day-to-day matters related to [LIV’s]

23    business, including the . . . employment terms of [LIV players], the contract terms with [LIV’s]

24    suppliers [agents, sponsors, broadcasters]” and
25          . In re Packaged Seafood Prod. Antitrust Litig., 277 F. Supp. 3d 1167, 1190 (S.D. Cal.
26    2017); see, e.g., Hood Decl., Exs. 1 at 12 (                                             7(
27                                ;3(
28                          ;4(                                                     ); 6 (

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 21 of 28



 1                                                                   ); 12 (

 2                           ); 5 (                       ); 44 (“                                  ).

 3              Indeed, Mr. Al-Rumayyan has directed everything from LIV’s

 4

 5    Hood Decl., Exs. 36; 19; 8; 10; 11. The Court can thus exercise personal jurisdiction over PIF and

 6    Mr. Al-Rumayyan through their agency relationship with LIV.

 7                     3.     The exercise of personal jurisdiction is reasonable.
 8              PIF and Mr. Al-Rumayyan concerns about comity are dramatically overstated. PIF and

 9    Mr. Al-Rumayyan argue that it would be unfair to subject them to personal jurisdiction “based on

10    typical ‘investor’ activities.” Opp. at 16. In fact, the opposite is true. It would be unfair to allow

11    PIF and Mr. Al-Rumayyan to manage LIV’s day-to-day affairs, recruit TOUR members for LIV

12    and induce them to breach their contracts with the TOUR, negotiate with sponsors and

13    broadcasters on LIV’s behalf, and work with LIV and its lawyers to orchestrate this litigation, but

14    then hide critical evidence from the TOUR behind the veil of international comity. Having made

15    the business determination to effectuate “Project Wedge” by directing their commercial activities

16    to the United States knowing full well that such activity would result in litigation, PIF and Mr.

17    Al-Rumayyan cannot now invoke comity as a shield from discovery.

18              Moreover, the Court’s interest in enforcing the subpoenas outweighs any concerns about

19    the Saudi laws cited by PIF and Mr. Al-Rumayyan because the “information [the TOUR seeks] is

20    vital to the litigation and cannot be obtained elsewhere.” See Richmark Corp. v. Timber Falling

21    Consultants, 959 F.2d 1468, 1475, 1477 (enforcing the discovery order despite foreign secrecy

22    laws because the United States has a “vital” interest in “vindicating the rights of” the U.S.

23    parties). As a threshold matter, PIF and Mr. Al-Rumayyan have failed to demonstrate that

24    providing discovery in this case would actually violate any of the Saudi laws they cite. See Dkt.

25    166-4 ¶ 11 (Mr. Al-Rumayyan’s statement that “producing documents or providing testimony in

26    response to the Subpoena could violate the laws discussed.”) (emphasis added). Even if they had

27    made such a showing, “the balance [still] tips significantly” in favor of enforcing the subpoenas

28    because PIF “undertook an obligation to comply with the lawful orders of United States courts”

                                                  14
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 22 of 28



 1    when it “availed itself of business opportunities in this country.” Richmark Corp., 959 F.2d at

 2    1478–79. Just like in Richmark, PIF and Mr. Al-Rumayyan have “routinely disclosed” the

 3    information that the TOUR is seeking to outside consultants and others, yet neither the Kingdom

 4    of Saudi Arabia nor PIF had “express[ed] interest in the confidentiality of this information prior

 5    to the litigation in question.” See id. at 1476. Finally, the fact that PIF and Mr. Al-Rumayyan

 6    claim to have represented “time and again that they were willing to voluntarily provide

 7    appropriate discovery,” see Opp. at 1, demonstrates that complying with the subpoenas does not,

 8    in fact, present any legitimate comity concern or breach Saudi law.

 9              C.     PIF and Al-Rumayyan are subject to tag jurisdiction.
10              PIF and Mr. Al-Rumayyan contend that tag jurisdiction does not apply because they were

11    not served “while physically present” in the United States. Opp. at 16. But each agreed to treat the

12    service of the subpoenas as if a copy had been “personally delivered” to them “in the United

13    States.” Dooley Decl., Ex. 5 (Dkt 142-2 at 18). In other words—they agreed to be treated as

14    “nonresidents who are physically present in the” United States. Burnham v. Sup. Ct. of Cal., Cnty.

15    of Marin, 495 U.S. 604, 610 (1990). This is all that tag jurisdiction requires. Indeed, tag

16    jurisdiction over non-natural persons such as PIF is not only a permitted means of establishing

17    personal jurisdiction but a “venerable one.” First Am. Corp. v. Price Waterhouse LLP, 154 F.3d

18    16, 20 (2d Cir. 1998) (holding that organization “should have known” that sending one of its

19    members to a New York “was risking exposure to personal jurisdiction in New York.”).

20              D.     Al-Rumayyan is not protected by common law immunity.
21              Common law foreign official immunity contains the same commercial activity exception

22    as § 1605(a)(2) of FSIA. “When a state enters the marketplace seeking customers it divests itself

23    of its Quasi sovereignty Pro tanto.” Alfred Dunhill of London, Inc. v. Republic of Cuba, 425 U.S.

24    682, 696 (1976) (cleaned up) (denying immunity under the common law commercial activity

25    exception); see also Republic of Phil. v. Marcos, 806 F.2d 344, 359 (2d Cir. 1986) (same). Mr.

26    Al-Rumayyan’s argument to the contrary mischaracterizes the case law and relevant history. His

27    own authority explains that the “1952 letter,” Opp. at 12, n.5, is a U.S. policy document adopting

28    the “restrictive” theory of common law sovereign immunity—pursuant to which immunity does

                                                  15
      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 23 of 28



 1    not extend to commercial acts—later codified in § 1605(a)(2). Wye Oak Tech., Inc. v. Republic of

 2    Iraq, 24 F.4th 686, 691 (D.C. Cir. 2022); see also Verlinden B.V. v. Cent. Bank of Nigeria, 461

 3    U.S. 480, 487 (1983). Thus, for the very same reasons that PIF’s commercial activities preclude

 4    sovereign immunity under FSIA, so too do Mr. Al-Rumayyan’s commercial activities preclude

 5    the application of common law immunity.

 6              Mr. Al-Rumayyan’s assertions that the subpoenas seek information related to his “official

 7    capacity,” Opp. at 11, are self-serving, unsupported by even a declaration cite, and in direct

 8    contradiction to the record in this case. Mr. Al-Rumayyan sits on the board of LIV’s parent

 9    company, Hood Decl. Ex. 37, and is the “Chairman of the Board and the CEO &

10    Commissioner” for the LIV Invitational Series, Dkt. 89-2 at 11. By his own admission, actions

11    taken with respect to LIV are in his capacity as a board member. Mr. Al-Rumayyan declares that
12    PIF employees “represent PIF on the Board and Board Committees of LIV Golf Investments Ltd.
13    and LIV Golf Holdings Ltd.” where they are “responsible for managing and monitoring
14    investment in LIV Golf Investments Ltd.” Dkt. 166-4; see also Hood Decl. Ex.1 at 12 (
15

16                                                            The management of a golf series and U.S.
17    portfolio company by a parent company board member is not an official act of the Kingdom of
18    Saudi Arabia. Alfred Dunhill of London, Inc., 425 U.S. at 697–98 (“we are in no sense compelled
19    to recognize as an act of state the purely commercial conduct of foreign governments”).
20              Mr. Al-Rumayyan cites no case in which a foreign official was found immune when

21    engaging in such commercial activity. Rather, the cases on which he relies involve unmistakable

22    and quintessential acts of state. Dogan v. Barak, 932 F.3d 888 (9th Cir. 2019) (foreign official’s

23    work in overseas military operation); In re Terrorist Attacks on Sept. 11, 2001, 122 F. Supp. 3d

24    181, 189 (S.D.N.Y. 2015) (Saudi charity official’s alleged funding of Al Qaida); Wultz v. Bank of

25    China Ltd., 32 F. Supp. 3d 486, 490 (S.D.N.Y. 2014) (national security official’s anti-terrorism

26    investigation); Giraldo v. Drummond Co., Inc., 808 F. Supp. 2d 247, 249 (D.D.C. 2011) (former

27    head of state’s involvement with paramilitary group); Rosasen v. Kingdom of Nor., 2022 WL

28    409679, at *1 (C.D. Cal. Feb. 10, 2022) (foreign child services officials’ relocation of children).

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 24 of 28



 1    IV.       SERVICE WAS PROPER

 2              A.     The TOUR has tendered witness fees.

 3              Although the TOUR had no obligation to tender witness fees because counsel for PIF and

 4    Mr. Al-Rumayyan had already agreed to accept service of the subpoenas, the TOUR has since

 5    tendered reasonable fees in accordance with Rule 45(b)(1) to provide for the deposition

 6    appearances of Mr. Al-Rumayyan and a PIF representative. See Hood Decl., Ex. 42.

 7              B.     PIF and Al-Rumayyan regularly transact business in New York City.

 8              It is beyond legitimate dispute that PIF and Mr. Al-Rumayyan “regularly transact[]

 9    business in person” within 100 miles of New York City, Fed. R. Civ. P. 45(c), given PIF’s New

10    York office and Mr. Al-Rumayyan’s frequent trips to New York City on PIF business. Indeed, the

11    PIF offices alone establish compliance with Rule 45(c). Wultz v. Bank of China Ltd., 298 F.R.D.

12    91, 98–99 (S.D.N.Y. 2014) (denying a motion to quash because the foreign non-party witness had

13    a branch office in New York). Further, Mr. Al-Rumayyan has admitted taking “nine trips to or

14    within 100-miles of New York City since January 1, 2021, for a total of thirty-four days.” Dkt.

15    166-5 ¶ 6. And he likely took these trips with even greater frequency in prior years—before the

16    pandemic’s travel restrictions and the opening of PIF’s New York City office. Indeed, when

17    asked in September 2020 whether he “come[s] to New York often,” he responded, “our portfolio

18    companies are [in New York and the United States], so I do go quite often.” Hood Decl., Ex. 41

19    (emphasis added). These frequent visits far exceed the Rule 45(c) standard. See Sullivan v. PJ

20    United, Inc., 2017 WL 11675693, at *4 (N.D. Ala. Dec. 15, 2017) (twenty-three business days in

21    a year); Halliburton Energy Servs., Inc. v. M-I, LLC, 2006 WL 2663948, at *2 (S.D. Tex. Sept.

22    15, 2006) (four ten-day visits per year “clearly” met the requirement). Moreover, PIF regularly

23    transacts business on New York City’s stock exchanges, having invested more than $40 billion in

24    50 companies publicly traded in the United States. See Mot. at 8.

25    V.        THE TOUR’S SUBPOENAS SEEK RELEVANT DISCOVERY

26              A.     The subpoenas seek relevant discovery in PIF and Al-Rumayyan’s control.

27              PIF and Mr. Al-Rumayyan do not seriously dispute the relevance of the TOUR’s requests.

28    This is unsurprising as LIV—represented by the same counsel—conceded the relevance of

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 25 of 28



 1    discovery from PIF and Mr. Al-Rumayyan by assuring the Court that it would facilitate such

 2    discovery, Dooley Decl. Ex. 4 (Dkt. 148-2 at 11), and by agreeing to produce its own documents

 3    related to PIF and Mr. Al-Rumayyan without objection, Dooley Decl. Ex. 49 (Dkt. 148-6 at 69).

 4              Indeed, PIF and Mr. Al-Rumayyan fail to engage with the TOUR’s arguments regarding

 5    relevance. The TOUR explained that PIF and Mr. Al-Rumayyan’s reasons for backing LIV and

 6    the venture’s financial projections are relevant to whether LIV’s golfer contracts reflect

 7    competitive pricing. Id. at 11. The TOUR further explained that PIF’s communications with golf

 8    tours, broadcasters, advertisers, sponsors, and vendors are relevant to LIV’s claim that the TOUR

 9    conspired to keep LIV out of the “golf ecosystem,” and how PIF’s communications with

10    professional golfers are relevant to the TOUR’s tortious interference counterclaims. Id. at 12. PIF

11    and Mr. Al-Rumayyan do not even attempt to deny the relevance of these or the other categories

12    the TOUR set forth. Instead, they lump together the TOUR’s requests and claim they are

13    irrelevant because they focus on “the internal workings of PIF.” Opp. at 21-22. This hand waving

14    does not refute, the relevance of the TOUR’s requests.

15              The same is true of PIF and Mr. Al-Rumayyan’s arguments that discovery related to

16    criticism of PIF, LIV, or the Kingdom of Saudi Arabia is not relevant because the TOUR’s fear of

17    reputational harm “is premised solely on the Tour’s knowledge.” Id. at 22. Such information is

18    directly relevant, as it substantiates the pro-competitive justification behind the TOUR’s

19    enforcement of its regulations. Finally, PIF and Mr. Al-Rumayyan’s claim that discovery

20    regarding Golf Saudi is irrelevant because PIF “has no relationship with… Golf Saudi” is simply

21    false. Id. Documents produced by LIV show that PIF was working with Golf Saudi to develop a

22    new golf league before launching LIV. See, e.g., Hood Decl. Ex.1 at 3 (“
23

24                                                             ”).
25              PIF and Mr. Al-Rumayyan also claim that the discovery sought can be obtained from
26    other sources, such as LIV itself. Not so. The information the TOUR seeks is exclusively in the
27    possession of PIF or Mr. Al-Rumayyan. Mot. at 11-13. For example, the TOUR is entitled to
28    discovery of PIF and Mr. Al-Rumayyan’s communications with professional golfers, other golf

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 26 of 28



 1    tours, broadcasters, sponsors, vendors and advertisers. This information is in PIF’s, not LIV’s,

 2    control. Likewise, documents produced thus far confirm PIF’s involvement with the Premier Golf

 3    League (“PGL”), as do allegations in the Complaint. See, e.g., Hood Decl. Ex. 1 at 3; Compl. ¶ 78

 4    (“PGL was a venture involving … the Public Investment Fund of Saudi Arabia.”). Evidence

 5    regarding PIF’s involvement with the PGL and the true reason for the PGL’s collapse, is within

 6    PIF’s control, and the TOUR is entitled to that evidence.

 7              B.     PIF and Al-Rumayyan would not be burdened by the TOUR’s discovery.
 8              PIF and Mr. Al-Rumayyan’s alleged burdens do not warrant quashing the subpoena. “Just

 9    because complying with a discovery request will involve expense or may be time consuming,

10    does not make it unduly burdensome.” See Cancino v. McAleehan, 2020 WL 1332485 at *6 (S.D.

11    Cal. Mar. 20, 2020). Even taking PIF and Mr. Al-Rumayyan at their word regarding the cost of

12    compliance, it strains credulity that a document collection costing “tens of thousands of dollars”

13    would pose an extraordinary financial burden to a sovereign wealth fund with $646 billion in

14    assets that has already put more than $2 billion into LIV. Opp. at 18. Further, their claim that they

15    are unprepared for discovery is belied by their assertion that they offered to engage in voluntary

16    disclosures. Indeed, PIF and Mr. Al-Rumayyan have been aware that the TOUR intended to seek

17    discovery since August, when counsel they share with LIV told the Court that such discovery

18    would go “swimmingly.” Their burden argument is hollow.

19              So too are PIF and Mr. Al-Rumayyan’s complaints that the TOUR’s requests are

20    overbroad and call for “confidential and competitively sensitive information.” Their breadth

21    objection is plainly make-weight. Their real position, as reflected in the TOUR’s discussions with

22    their counsel and in their brief, is that they are not required to produce anything or testify on any

23    topic. If PIF or Mr. Al-Rumayyan was truly concerned about the breadth of the TOUR’s

24    subpoenas, they would have offered to produce a narrower range of documents and testify on a

25    narrower set of topics, which they never did. Moreover, the TOUR’s requests are reasonable

26    given PIF and Mr. Al-Rumayyan’s central role in this litigation. Their confidentiality objection,

27    to the extent there is anything to it, is easily addressed by the Protective Order in the case

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 27 of 28



 1              C.     PIF and Al-Rumayyan never offered to produce documents voluntarily.

 2              Finally, PIF and Mr. Al-Rumayyan’s suggestion that the Court should deny the TOUR’s

 3    Motion because they gestured in the direction of voluntary disclosure is baseless. PIF and Mr. Al-

 4    Rumayyan never actually offered to produce any document or testify on any topic voluntarily

 5    despite the opportunity to do so during the parties’ meet-and-confer call and in the parties’

 6    correspondence, see, e.g., Teruya Decl., Ex. 2 (Dkt. 166-3). Nor does their brief provide a single

 7    example of a document, much less a category of documents, they are willing to produce. Their

 8    “offer[s] to engage in voluntary disclosure” are meaningless; they offered nothing.

 9              Regardless, the “voluntary disclosure” contemplated by PIF and Mr. Al-Rumayyan is

10    unacceptable. Without a way to compel them to produce documents or testify, PIF and Mr. Al-

11    Rumayyan would be free to pick and choose which documents to produce and on which topics to

12    testify (if they agreed to testify at all). The TOUR’s requests would not be a means to obtain

13    relevant evidence, but rather an opportunity for PIF and Mr. Al-Rumayyan to bolster LIV’s case

14    and hiding evidence helpful to the TOUR by cherry picking documents and information they

15    deemed favorable. It is thus no surprise that PIF and Mr. Al-Rumayyan do not cite a single case

16    holding that a party must accept voluntary disclosures in lieu of an enforceable subpoena.

17    VI.       CONCLUSION

18              For the foregoing reasons, the Court should grant the TOUR’s Motion to Compel and

19    deny PIF and Mr. Al-Rumayyan’s Motion to Quash.

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     Dated: December 2, 2022                                  KEKER, VAN NEST & PETERS LLP
21

22                                                     By:    /s/ Elliot R. Peters
23                                                            ELLIOT R. PETERS
                                                              DAVID SILBERT
24                                                            R. ADAM LAURIDSEN
                                                              NICHOLAS S. GOLDBERG
25                                                            SOPHIE HOOD

26                                                            Attorneys for Defendant
                                                              PGA TOUR, INC.
27

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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
     Case 5:22-cv-04486-BLF Document 499-22 Filed 09/07/23 Page 28 of 28



 1                                                 SKADDEN, ARPS, SLATE, MEAGHER
                                                   & FLOM LLP
 2
                                                   ANTHONY J. DREYER
 3                                                 PATRICK FITZGERALD
                                                   KAREN M. LENT
 4                                                 MATTHEW M. MARTINO

 5                                                 Attorneys for Defendant
                                                   PGA TOUR, INC.
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      PGA TOUR’S REPLY IN SUPPORT OF MOTION TO COMPEL AND OPPOSITION TO MOTION TO QUASH
                                     Case No. 5:22-cv-04486-BLF
      1948137
